                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


COMMON CAUSE, et al.,

                    Plaintiffs,
      v.

ROBERT A. RUCHO, in his official
capacity as Chairman of the North Carolina
                                               No. 1:16-CV-1026
Senate Redistricting Committee for the
2016 Extra Session and Co-Chairman of the
Joint Select Committee on Congressional
Redistricting, et al.,

                    Defendants.



LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, et al.,

                    Plaintiffs,
      v.

ROBERT A. RUCHO, in his official
capacity as Chairman of the North Carolina     No. 1:16-CV-1164
Senate Redistricting Committee for the
2016 Extra Session and Co-Chairman of the
Joint Select Committee on Congressional
Redistricting, et al.,

                    Defendants.


                                       Order

In a memorandum opinion and order entered January 9, 2018, this Court held that

North Carolina’s 2016 Congressional Redistricting Plan (the “2016 Plan”)


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constitutes an unconstitutional partisan gerrymander in violation of the Equal

Protection Clause of the Fourteenth Amendment, the First Amendment, and Article

I of the Constitution. Common Cause v. Rucho, 279 F. Supp. 3d 587 (M.D.N.C. Jan.

9, 2018), vacated 2018 WL 1335403 (S. Ct. June 25, 2018) (mem.). In an order

entered on June 25, 2018, the Supreme Court vacated this Court’s judgment and

remanded the case to this Court for reconsideration in light of the Court’s opinion in

Gill v. Whitford, No. 16-1161, 585 U.S. --- (2018). Gill stated, inter alia, that to

establish standing to assert a partisan vote dilution claim under the Equal Protection

Clause of the Fourteenth Amendment, a plaintiff voter must show that “the particular

composition of the voter’s own district . . . causes his vote—having been packed or

cracked—to carry less weight than it would carry in another, hypothetical district.”

Slip op. at 15-16.

      The parties are invited to submit briefing to this Court by 5:00 p.m. on July 11,

2018, addressing the following four issues:

   1. What impact, if any, Gill has on this Court’s holdings that the 2016 Plan

      violates the First Amendment and Article I of the Constitution;

   2. Whether the existing factual record is adequate to address whether Plaintiffs

      have standing to state a vote dilution claim under the Equal Protection Clause;

   3. If a party believes additional factual development is required, what that factual

      development should entail; and


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   4. Assuming arguendo that no additional factual development is required,

      whether, under Gill, Plaintiffs have standing to assert a vote dilution claim

      under the Equal Protection Clause.

In addressing these questions, the parties should include citations to the record to

support their arguments.

                                               Date: June 27, 2018



                                               /s/ James A. Wynn, Jr.
                                               Hon. James A. Wynn, Jr.
                                               United States Circuit Judge


                                               /s/ William L. Osteen, Jr.
                                               Hon. William L. Osteen, Jr.
                                               United States District Judge


                                               /s/ W. Earl Britt
                                               Hon. W. Earl Britt
                                               Senior United States District Judge




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